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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
SERGIO BONILLA, on behalf of himself and
all others similarly situated,
                                                     Case Nos:      1:21-cv-00051
                               Plaintiff,                           1:21-cv-00610

v.

PEOPLECONNECT, INC., a Delaware                      JURY TRIAL DEMANDED
Corporation,
                               Defendant.

THERESA LOENDORF, individually and on
behalf of all others similarly situated,

                               Plaintiff,

       v.

PEOPLECONNECT, INC., a Delaware
Corporation;

                               Defendant.

                  JOINT MOTION FOR EXTENSION OF TIME TO FILE
                        AND LEAVE TO FILE EXCESS PAGES

       Pursuant to Local Rules 7.1 and 78.3, Plaintiffs Bonilla and Loendorf, and Defendant

PeopleConnect, Inc., by and through their undersigned attorneys, respectfully request the

following briefing schedule with respect to Defendant’s pending Motion to Dismiss Plaintiffs’

Consolidated Class Action Complaint (“Motion to Dismiss”): (a) Plaintiffs’ opposition brief to

be filed by Monday, June 7; and (b) Defendant’s reply brief to be filed by Monday, June 21. In

addition, Plaintiffs respectfully request leave to file their opposition in excess of fifteen pages.

Specifically, Plaintiffs request leave to file at a maximum of thirty-five pages, the same page
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limit the Court granted to Defendant with respect to its brief in support of its Motion to Dismiss.

ECF No. 43. In support of this motion, Plaintiffs state as follows:

       1.        Defendant PeopleConnect Inc. filed a Motion to Dismiss and memorandum in

support on May 10. ECF Nos. 44 and 45. Defendant’s memorandum in support is thirty-five

pages long. ECF No. 45.

       2.        Plaintiffs’ request a June 7 deadline to file their opposition. Plaintiffs’ request for

a total of four weeks to prepare their opposition is driven by: (a) the length of Defendant’s

memorandum and the number and complexity of issues raised therein; (b) counsels’ pre-existing

commitments on other matters; and (c) one of the attorneys responsible for drafting the

opposition will be on vacation for part of this time.

       3.        Plaintiffs request leave to file a brief of no more than thirty-five pages, matching

the length of Defendant’s memorandum. Plaintiffs believe these pages are required to fully

address the issues raised in Defendant’s memorandum.

       4.        Plaintiffs have conferred with opposing counsel, who have no objection to

Plaintiffs’ proposed June 7 filing date and request for additional pages. Defendant’s counsel

requested that they have until June 21 to file their reply. Plaintiffs’ counsel have no objection to

that schedule.

       Accordingly, Plaintiffs and Defendant respectfully request that the Court grant this

motion and enter an order granting the proposed briefing schedule and granting Plaintiffs leave

to file an opposition not to exceed thirty-five pages.




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Respectfully submitted,

Dated: May 17, 2021


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